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                                   8                                     UNITED STATES DISTRICT COURT

                                   9                                   NORTHERN DISTRICT OF CALIFORNIA

                                  10                                          San Francisco Division

                                  11       UNITED STATES OF AMERICA,                         Case No. 20-cr-00249-RS (LB)
                                  12                      Plaintiff,
Northern District of California




                                                                                             DISCOVERY ORDER
 United States District Court




                                  13               v.
                                                                                             Re: ECF No. 374
                                  14       ROWLAND MARCUS ANDRADE,
                                  15                      Defendant.

                                  16

                                  17         This discovery motion in part is to compel cooperator discovery — Brady and Rule 16 —

                                  18   related to Jack Abramoff. 1 The court previously ordered its production. 2 The court held a hearing

                                  19   on December 12, 2024. In its opposition and at the hearing, the government confirmed that it had

                                  20   produced all discovery. The court accepts that representation. The caveat is that “under the

                                  21   government’s control” includes categories such as any SEC parallel investigation and review of

                                  22   SEC and FBI notes relevant to Brady. The government must conduct any review necessary. At the

                                  23   hearing, the government confirmed that it was complying with those obligations. Again, the court

                                  24   accepts that representation.

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                                  27    Mot. – ECF No. 374. Citations refer to the Electronic Case File (ECF); pinpoint citations are to the
                                       ECF-generated page numbers at the top of documents.
                                  28   2
                                           Order – ECF No. 165 at 2–3.

                                       ORDER – No. 20-cr-00249-RS (LB)
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                                   1      Mr. Andrade also asked for disclosure of search warrants (including applications and

                                   2   affidavits) and subpoenas (and all responses) about Mr. Abramoff and other individuals and

                                   3   entities (thirty-two in all). At the hearing, it was evident that the government has produced

                                   4   everything it has about Mr. Abramoff and — for the investigation that this prosecution team has

                                   5   conducted — all that it has discovered (as opposed to producing only selected parts of what it

                                   6   has). As discussed at the hearing, the reach of what the defense asks for is beyond Rule 16. The

                                   7   court’s earlier orders have laid out the government’s disclosure obligations under Rule 16 and

                                   8   Brady. The phrase “within the government’s possession, custody or control” applies to the federal

                                   9   prosecutor and those federal agencies involved in the investigation or the subject matter of the

                                  10   prosecution. See, e.g., United States v. Brazel, 102 F.3d 1120 (11th Cir. 1997); United States v.

                                  11   Bryan, 868 F.2d 1032 (9th Cir. 1989). It does not create an obligation to “comb the files of every

                                  12   federal agency” that may conceivably have relevant information or statement. Id.
Northern District of California
 United States District Court




                                  13      IT IS SO ORDERED.

                                  14      Dated: December 14, 2024                   ______________________________________
                                                                                     LAUREL BEELER
                                  15                                                 United States Magistrate Judges
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                                       ORDER – No. 20-cr-00249-RS (LB)                   2
